      Case 4:22-cv-02269 Document 1 Filed on 07/08/22 in TXSD Page 1 of 6




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


LAWRENCE SCOTT,                     )
an individual,                      )
                                    )                  Case No.:      4:22-cv-2269
       Plaintiff,                   )
v.                                  )
                                    )
THE COMMONS AT MISSION              )
BEND INVESTMENT INC.,               )
a Texas Corporation,                )
                                    )
       Defendant.                   )
____________________________________)

                                           COMPLAINT

       Plaintiff, LAWRENCE SCOTT, through his undersigned counsel, hereby files this

Complaint and sues THE COMMONS AT MISSION BEND INVESTMENT INC., a Texas

Corporation, for injunctive relief, attorneys’ fees and costs pursuant to 42 U.S.C. § 12181 et seq.,

(“AMERICANS WITH DISABILITIES ACT” or “ADA”) and alleges:

                                JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (the “ADA”). This Court is vested

with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343. This Court has supplemental

jurisdiction over the subject matter of all other claims pursuant to 28 U.S.C. §1367(a).

       2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), because the

Defendant’s Property, which is the subject of this action, is located in Harris County, Texas.

       3.      Plaintiff, LAWRENCE SCOTT (hereinafter referred to as “MR. SCOTT” or

“Plaintiff”), is a resident of the State of Texas in Harris County.
      Case 4:22-cv-02269 Document 1 Filed on 07/08/22 in TXSD Page 2 of 6




       4.      MR. SCOTT is a qualified individual with a disability under the ADA. In 2002,

MR. SCOTT suffered a severe injury to his neck resulting in trauma to his C5 and C7 vertebrae.

MR. SCOTT is paralyzed from the waist down.

       5.      Due to his disability, Plaintiff is substantially impaired in several major life

activities, such as walking and standing, and requires a wheelchair for mobility.

       6.      Defendant, THE COMMONS AT MISSION BEND INVESTMENT INC., a Texas

Corporation (hereinafter referred to as “Defendant”), is registered to do business in the State of

Texas. Upon information and belief, Defendant is the owner, lessor and/or operator of the real

property and improvements which are the subject of this action, to wit: the “Property,” known as

“Commons at Mission Bend”, generally located at 6764 Highway 6 S., Houston, TX 77083.

       7.      All events giving rise to this lawsuit occurred in the Southern District of Texas.

                                          COUNT I
                             (VIOLATION OF TITLE III OF THE ADA)

       8.      Plaintiff realleges and incorporates into this cause of action each and every

allegation contained in the previous paragraphs of this Complaint.

       9.      The Property, a shopping plaza, is open to the public and provides goods and

services to the public.

       10.     Plaintiff has visited the Property multiple times and attempted to utilize the goods

and services offered at the Property and plans to return to the Property in the near future.

       11.     During his visits, MR. SCOTT experienced serious difficulty accessing the goods

and utilizing the services therein due to the architectural barriers discussed in this Complaint.

Moreover, but for the inaccessible condition of the Property, Plaintiff would like to visit the

Property more often.


                                                     2
       Case 4:22-cv-02269 Document 1 Filed on 07/08/22 in TXSD Page 3 of 6




        12.        Due to the barriers, Plaintiff has been unable to, and continues to be unable to, enjoy

full and equal access to good and services offered at the Property, owned, leased, and/or operated

by Defendant. Additionally, MR. SCOTT continues to desire to visit the Property, but fears that

he will again encounter serious difficulty and safety hazards due to the barriers discussed herein

which still exist.

        13.        Defendant has discriminated, and continues to discriminate, against Plaintiff in

violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et seq. by excluding and/or denying

Plaintiff the benefits of the goods and services located on the Property by failing to provide and/or

correct the following barriers to access which Plaintiff personally observed, encountered, and

which hindered his access:

              A.       Plaintiff personally encountered inaccessible parking designated for disabled

                       use due to low signage in front of the Pro-Health Clinic. This condition made

                       it difficult for Plaintiff to identify the designated disabled parking area.

              B.       Plaintiff personally encountered inaccessible parking designated for disabled

                       use in front of E-Z Pawn due excessive long and cross slopes in the disabled

                       use parking spaces and their designated access aisles. Additionally, the access

                       aisles are often obstructed by merchandise. These conditions made it difficult

                       for Plaintiff to transfer safely from his vehicle into his wheelchair.

              C.       Plaintiff personally encountered inaccessible parking in the disabled use

                       parking spaces due to ramps servicing E-Z Pawn, Room Impressive Furniture

                       and Pro-Health Clinic improperly protruding into the parking spaces and their

                       designated access aisles, causing excessive slopes. These conditions made it

                       difficult for Plaintiff to transfer safely from his vehicle into his wheelchair.

                                                         3
      Case 4:22-cv-02269 Document 1 Filed on 07/08/22 in TXSD Page 4 of 6




             D.       Plaintiff personally encountered inaccessible ramps throughout the Property

                      on the designated accessible routes due to excessive long slopes and lack of

                      edge protection. These conditions made it difficult and unsafe for Plaintiff to

                      maneuver over the ramps, as well as increased his risk of fall.

             E.       Plaintiff personally encountered inaccessible parking near Shipley Donuts due

                      to a lack of any nearby parking spaces designated for disabled use. This

                      condition made it difficult for Plaintiff to gain access to this business. (no pics

                      and notes say bathroom. Are you sure about this? Thanks)

             F.       Plaintiff personally encountered inaccessible routes near Shipley Donuts due

                      to the absence of a nearby curb ramp. This condition made it difficult for

                      Plaintiff to gain access to this business without travelling an excessive distance

                      from the closest designated disabled use parking spaces.

       14.         Upon information and belief, there are other current violations of the ADA and the

ADA Accessibility Guidelines (“ADAAG”) at the Property, and only after a full inspection is

performed by the Plaintiff or Plaintiff’s representatives can all said violations be identified.

       15.        To date, the readily achievable barriers and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance with the

provisions of the ADA.

       16.        Independent of his intent to return as a patron to the Property, Plaintiff additionally

intends to return to the Property as an ADA tester to determine whether the barriers to access stated

herein have been remedied.

       17.        Removal of the barriers to access located on the Property is readily achievable,

                                                        4
      Case 4:22-cv-02269 Document 1 Filed on 07/08/22 in TXSD Page 5 of 6




structurally feasible and easily accomplishable without placing an undue burden on Defendant.

       18.     Removal of the barriers to access located on the Property would allow Plaintiff to

fully utilize the goods and services located therein.

       19.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs, and

expenses paid by Defendant.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff demands judgment against Defendant and requests the

following injunctive and declaratory relief:

       A.      That the Court declare that the Property owned, leased, and/or operated by

               each Defendant is in violation of the ADA;

       B.      That the Court enter an Order directing each Defendant to alter its facility to

               make them accessible to and useable by individuals with disabilities to the

               full extent required by Title III of the ADA;

       C.      That the Court enter an Order directing each Defendant to evaluate and

               neutralize its policies and procedures towards persons with disabilities for

               such reasonable time so as to allow each Defendant to undertake and complete

               corrective procedures;

       D.      That the Court award reasonable attorneys’ fees, costs (including expert fees),

               and other expenses of suit, to the Plaintiff; and

       E.      That this Court award Plaintiff such other additional and proper relief as may



                                                        5
Case 4:22-cv-02269 Document 1 Filed on 07/08/22 in TXSD Page 6 of 6




      be just and equitable.

                               By:   /s/ Brian T. Ku           .




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                                           6
